           Case 2:07-cr-00036-MCE Document 69 Filed 04/03/08 Page 1 of 3


1    Robert M. Holley
     Attorney at Law
2    State Bar No. 50769
     331 J Street, Suite 200
3    Sacramento, California 95814
     Telephone: (916) 443-2213
4
5
6
7
                          IN THE UNITED STATES DISTRICT COURT
8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,       )     CR. No. 07-00036-MCE
11                                   )
                    Plaintiff,       )     STIPULATION AND ORDER FOR
12                                   )     MODIFICATION OF CONDITIONS OF
          v.                         )     RELEASE TO ALLOW LIMITED CONTACT
13                                   )     BETWEEN DEFENDANTS FOR PURPOSES
     ANDREA WEATHINGTON and          )     OF CPS PARENTING CLASSES,
14   JERAMIAH URCH,                  )     COUNSELING, CHILD CUSTODY AND
                                     )     VISITATION
15                  Defendants.      )
     _______________________________ )
16
17                                     BACKGROUND
18        Defendants Andrea Weathington and Jeramiah Urch are charged by way
19   of indictment with various felony counts relating to stolen mail and
20   credit card fraud.    Both defendants are on pretrial release with
21   special conditions.    One of the special conditions of release is
22   identical for each defendant (Weathington, docket entry 22, line 11 and
23   Urch, docket entry 37, line 11; February 5, 2007 and March 21, 2007,
24   respectively).   It reads as follows:
25             11. You shall not have any contact with the co-
               defendant (direct or indirect) in this case unless
26             in the presence of defense counsel and you shall
               comply with the existing restraining order filed
27             against the co-defendant in this case.
28
              Case 2:07-cr-00036-MCE Document 69 Filed 04/03/08 Page 2 of 3


1         Ms. Weathington and Mr. Urch are the natural parents of a minor
2    child.    Logistical situations relating to issues of child custody,
3    parenting classes and counseling etc. through Child Protective Services
4    (CPS) require that the parents have contact with one another in
5    connection with the same.        As neither Ms. Weathington nor Mr. Urch wish
6    to violate the special condition listed above, the following change is
7    stipulated by all parties.        Mr. Steve Sheehan, the pretrial agent
8    supervising the defendants (telephone # 930-4350) is also in agreement.
9
10                                       STIPULATION
11                It is hereby stipulated by and between the parties hereto
12   that Special Condition of Release number 11, as set forth above, as it
13   relates to each of the two defendants be modified only to the extent
14   that it allows reasonable contact between Ms. Weathington and Mr. Urch
15   as necessary to effectuate the goals of the Child Protective Services
16   relative to parenting instruction, counseling, supervision, custody,
17   and visitation with the minor child.          In all other respects said
18   condition is to remain unchanged and in full force and effect.
19                                                   /s/ Mr. Robert M. Holley
20        Dated:     March 28, 2008                  ____________________________
                                                     Mr. Robert M. Holley
21                                                   Counsel for Ms. Weathington
22
                                                     /s/ Ms. Mary M. French
23        Dated:     March 28, 2008                  ____________________________
                                                     Ms. Mary M. French
24                                                   Counsel for Mr. Urch
25
                                                     /s/ Ms. Robin R. Taylor
26        Dated:     March 28, 2008                  _____________________________
                                                     Ms. Robin Taylor
27                                                   Assistant U.S. Attorney
                                                     Counsel for the Plaintiff
28


                                               2
           Case 2:07-cr-00036-MCE Document 69 Filed 04/03/08 Page 3 of 3


1                                         ORDER
2         With reference to the above stipulation regarding the modification
3    of pretrial release special condition number eleven for both defendants
4    Andrea Weathington and Jeramiah Urch, GOOD CAUSE APPEARING, IT IS SO
5    ORDERED.
6    Dated: 04/03/08                        /s/ Gregory G. Hollows
                                            ________________________________
7                                           The Honorable Gregory G. Hollows
                                            United States Magistrate Judge
8                                           Eastern District of California
9    weathington.ptr
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                            3
